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                           IN THE UNITED STATES DISTRICT COURT
                           FOR THE EASTERN DISTRICT OF VIRGINIA
                                   ALEXANDRIA DIVISION


  AMAZON.COM INC. and AMAZON
  DATA SERVICES, INC.,

                   Plaintiffs,

            v.
                                                          CASE NO. 1:20-CV-484-RDA-TCB
  WDC HOLDINGS LLC dba NORTHSTAR
  COMMERCIAL PARTNERS; BRIAN
  WATSON; STERLING NCP FF, LLC;
  MANASSAS NCP FF, LLC; NSIPI
  ADMINISTRATIVE MANAGER; NOVA
  WPC LLC; WHITE PEAKS CAPITAL LLC;
  VILLANOVA TRUST; JOHN DOES 1-20,

                   Defendants.



         WATSON DEFENDANTS’ VERIFIED RESPONSE TO THE RECEIVER’S
         SECOND QUARTERLY REPORT (QUARTER ENDING MARCH 31, 2022)

            Defendants WDC Holdings LLC d/b/a Northstar Commercial Partners (“Northstar”),

  Brian Watson (“Mr. Watson”), Sterling NCP FF, LLC, Manassas NCP FF, LLC, NSIPI

  Administrative Manager, and BW Holdings, LLC (collectively, the “Watson Defendants”), by

  and through their undersigned counsel, hereby file their Verified Response to the Receiver’s

  Second Quarterly Report and state as follows.

            The Watson Defendants write this short response to the Receiver’s Second Quarterly

  Report (the “Report”) to provide context on several points included in the report. The Watson

  Defendants offer the following clarifications and explanations in response to the Receiver’s

  Report:




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          1. WDC’s payment of Mr. Watson’s personal credit card was not a “personal benefit” to

  Mr. Watson, but was simply a payment of business expenses by WDC Holdings that Mr. Watson

  had to charge to his private card due to spending limits on the company card. See Dkt. 702 ¶ 14.

  The $75,000.00 of Mr. Watson’s personal credit card paid by WDC was reimbursement for the

  retainer for legal counsel in this case, and not for personal expenses

          2.     Although Mr. Watson did purchase a home for $6.6 million in February of 2020,

  see id. ¶ 15, this was two months before this case was even filed. Further, the house was sold in

  December 2021 for $8.5 million, resulting in a net gain of almost $2 million, which provided a

  considerable benefit to Mr. Watson’s estate. Mr. Watson did not receive any proceeds from this

  sale.

          3.     Many of the large expenses noted by the receiver were a result of projects and

  expenses which had been put into motion years before the injunction was ordered and would have

  cost more to terminate than to complete. For example, though Mr. Watson spent over $5.6 million

  building his residence at the C Lazy U Ranch, see id., he was nearly halfway through construction

  at the start of this litigation. Mr. Watson spent significant money to complete the construction, but

  has now listed the residence due to this Court action, and it should sell for a much larger sum than

  he paid to build, furnish, and maintain it.

          4.     Expenses such as education for Mr. Watson’s children are required by his divorce

  agreement, and are not voluntary. Similarly, Mr. Watson does not “elect” to spend $3,000 a

  month on spousal maintenance, but is required to do so as per the terms of his prenuptial

  agreement. See id. ¶18.

          5.     Mr. Watson has loaned WDC Holdings millions of dollars of his personal money

  through its inception 22 years ago, and is currently owed just over $1.5 million by

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         WDC Holdings. Thus, the $90,000 dispersed to Mr. Watson from WDC is not a personal
  benefit to Mr. Watson, but simply the repayment of a loan that has accrued to a large amount.
  See Dkt. 2-39 pg. 7, 9.

         6.      Although the Report notes that Mr. Watson received nearly $3 million over this

  period, see id. at 14, much of this was immediately paid to creditors and never actually received

  by Mr. Watson. For example, the report shows that Mr. Watson and WDC earned approximately

  $2.3 million from sale of interests in various assets, however almost all of this money was paid

  upon closing directly to creditors, and was never dispersed to Mr. Watson personally where he

  could use it for other expenses and/or matters. Accordingly Mr. Watson did not have access to

  funds to place into escrow in accordance with the preliminary injunction.

  Dated: May 2, 2022                           Respectfully submitted,


                                               /s/ Stanley L. Garnett
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                                     NSIPI Administrative Manager, and BW Holdings
                                     LLC




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                                 CERTIFICATE OF SERVICE

         I hereby certify that on May 2, 2022, I will electronically file the Watson Defendants’
 Response to the Receiver’s Second Quarterly Report (Quarter Ending March 31, 2022) using the
 Court’s CM/ECF system, which will provide service to all counsel of record. In addition, I will
 send a copy via US Mail to pro se defendant Casey Kirschner, and will send courtesy copies via
 e-mail to all persons listed below at the e-mail addresses shown:

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  Patrick F. Stokes                                  Rachel Friedman
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                                                     Counsel for Receiver




                                        By: /s/ Jeffrey R. Hamlin
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                                           VERIFICATION


          I, Brian Watson, affirmatively state, under penalty of perjury, that I have reviewed the

   Watson Defendants' Response to Receiver's Second Quarterly Report (Quarter Ending March

   31, 2022) and verify that the statements contained therein are true and correct to the best of my

   knowledge, information, and belief.

                  Dated 29th day of April, 2022.



                                                        Brian Watson




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